 Case 2:18-cv-00228-JRG Document 37 Filed 10/04/18 Page 1 of 1 PageID #: 159



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

FLECTERE LLC,                                  §
                                               §
                                               §
               Plaintiff,                      §
                                               §
v.                                             §     CIVIL ACTION NO. 2:18-CV-00228-JRG
                                               §               (LEAD CASE)
SEARS BRANDS, L.L.C.,                          §
                                               §
               Defendants.                     §

                                          ORDER

        Before the Court is Plaintiff Flectere LLC’s (“Flectere”) Unopposed Motion to Extend
   .
Time to File the Proposed Docket Control Order and Proposed Discovery Order (the “Motion”).

(Dkt. No. 34.) The Court, having considered same, finds that the Motion should be and hereby

is GRANTED.       Accordingly, it is ORDERED that Flectere shall file a Proposed Docket

Control Order and a Proposed Discovery Order on or before October 25, 2018.

Absent extraordinary circumstances, Flectere should not expect any additional extensions of

time.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 4th day of October, 2018.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE
